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                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

EBONI JACKSON, Individually and               §
on behalf of all those similarly situated,    §
                                              §
             Plaintiff,                       §
                                              §
V.                                            §      C.A. NO. 4:07-cv-3351
                                              §      (JURY DEMANDED)
LEGAL MEDIATION PRACTICE,                     §
INC.; FFD RESOURCES II, LLC d/b/a             §
WebPayday.com; FFD VENTURES,                  §
LP; AND JOHN DOES 1 – 99, in their            §
individual capacity as shareholders and       §
interest holders of Legal Mediation           §
Practice, Inc., FFD Resources II, LLC,        §
and FFD Ventures, LP,                         §
                                              §
             Defendants.                      §

                   PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE U.S. DISTRICT JUDGE OF SAID COURT:

      COMES NOW, EBONI JACKSON, Individually and on behalf of all those

similarly situated (hereinafter referred to as “Jackson” or the “Plaintiff”), Plaintiff

in the above styled case, and makes this her Plaintiff’s Original Complaint against

LEGAL MEDIATION PRACTICE, INC. (“LMP”), FFD RESOURCES II, LLC

d/b/a WebPayday.com (“FFD Resources”), FFD VENTURES, LP (“FFD

Ventures”), and JOHN DOES 1 – 99 (“Does”)(LMI, FFD Resources, FFD
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Ventures, and Does hereinafter collectively referred to as the “Defendants”) and

for cause of action would show as follows:

                                        I.

                                     Parties

      1.    At all pertinent times the Plaintiff was and is a natural person and

domiciliary of Houston, Harris County, Texas.

      2.    Defendant Legal Mediation Practice, Inc. is a Florida corporation

doing business in the State of Texas, and may be served by serving its registered

agent, Duane C. Romanello, P.A., at its registered address located at 1919-8

Blanding Blvd., Jacksonville, Florida 32210, or wherever it may be found.

      3.    Defendant Legal Resources II, LLC d/b/a WebPayday.com is a Utah

corporation doing business in the State of Texas, and may be served by serving its

registered agent, Thomas Scribner, at its registered address located at 2696 N.

University Avenue, Suite 220, Provo, Utah 84604, or wherever he may be found.

      4.    Defendant FFD Ventures, LP is a Nevada limited partnership doing

business in the State of Texas, and may be served by serving its registered agent,

Resident Agents of Nevada, Inc., at its registered address located at 711 S. Carson

Street, #4, Carson City, NV 89701, or wherever it may be found.

      5.    Defendant John Does 1 – 99, Individually in their capacity as

shareholders, members, and/or interest holders in Legal Mediation Practice, Inc.,
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FFD Resources II, LLC, and FFD Ventures, LP, are individuals who are the

shareholders, members, or interest holders of Legal Mediation Practice, Inc., FFD

Resources II, LLC, and FFD Ventures, LP.

                                        II.

                             Jurisdiction and Venue

      6. This Court has jurisdiction under 28 U.S.C. § 1331 in that this civil

action arises under the laws of the United States, in particular under the

provisions of the “Racketeer Influenced and Corrupt Organizations Act”

codified at 18 U.S.C. §§ 1961, et seq. (“RICO”) and under the provisions of the

federal “Fair Debt Collection Practices Act” codified at 15 U.S.C. §§ 1692, et

seq. (“FDCPA”)

      7. The Defendants are also liable to the Plaintiff pursuant to the laws of

the State of Texas, which claims may be brought under the supplemental and

ancillary jurisdiction of this Court, pursuant to 28 U.S.C. § 1367(a).

      8. This Court has personal jurisdiction over the Defendants because they

operated in Texas, solicited and made loans to Texas residents in Texas

conducted collections on those loans in Texas, and conducted the acts that are

the grounds of this suit in Texas.       The Defendants have also established

minimum contacts in the State of Texas.



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      9. This Court has venue under 28 U.S.C. §1391(b), because a substantial

part of the events or omissions giving rise to the claims occurred in the Southern

District of Texas.

                                        III.

                                Background Facts

      10.   Ms. Jackson borrowed $400.00 from FFD Resources doing business

under the assumed name of “WebPayday.com” through its website at

http://www.webpayday.com. Ms. Jackson borrowed the money for her brother’s

personal and household needs, because he was in a financial hardship. When

Ms. Jackson’s brother was unable to pay off the loan, FFD Resources assigned

the debt to its collector LMP for collection action.

      11.   FFD Resources, its member FFD Ventures, the collector LMP, and

their various owners have created an enterprise to make usurious, unlawful

loans and use extortionate practices to collect them. FFD Ventures uses FFD

Resources as a front to broker the loans under an assumed name at the usurious

rates. FFD Resources operates a website that can be accessed by consumer

debtors across the country in interstate commerce. FFD Resources uses this

website on the Internet to solicit consumers for loans nationwide. Consumers

visit the website and apply online over the Internet. The website is administered

through Namesecure.com out of Herndon, Virginia. Thus, consumers in Texas
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apply with FFD Resources which is based in Utah, through a website

administered in Virginia. The delinquent, unpaid loans are sent to LMP for

collection out of Florida.     This constitutes an enterprise doing business in

interstate commerce.

      12.    FFD Resources charged interest at different amounts per $100

loaned depending on the number of days of the loan.              A table of FFD

Resources’ interest rates is attached hereto as Exhibit “A”. As applied to the

Plaintiff’s $400 loan, FFD Resources charged $50 per $100 loaned over 30

days, or a total of $200, amounting to a 608.33% APR. This was in addition to

a number of $50 payments that were made towards the loan amount that were

not credited to principal and were thus credited to additional interest charged on

the loan.

      13.    FFD Resources’ interest rates charged are well in excess of the rates

allowed under the Texas Finance Code, which are found in a table at 7 TAC §

83.604(c), attached hereto as Exhibit “B”. Under that table of allowed rates in

Texas, FFD Resources was only allowed to charge an initial “acquisition

charge” of $10, plus a “handling charge” of $4 per $100 loaned per month. For

a $400 loan like the Plaintiff’s, the maximum amount allowed was $26.00 for 30

days, amounting to an approximate 80% APR. FFD Resources charged the

Plaintiff interest at almost 8 times the lawful rate in Texas.
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      14.   FFD Resources and FFD Ventures have used the proceeds of their

illegal loans made to Texas residents by investing all or part of the illegal gains

directly and/or indirectly in the establishment and/or operation of their illegal

loan enterprise which is engaged in interstate commerce.

      15.   LMP at all times acted as FFD Resources’ agent and FFD

Resources is liable for all of the collection actions of its agent LMP.

      16.   LMP knew that it was collecting unlawful debts by the very

information it received from FFD Resources about the debts. LMP also knew it

was merely a group of collectors, but it held itself out to the consumer debtors

as a group of lawyers with the power to bring criminal charges and legal actions

against the consumers. LMP consciously engaged in this and other extortionate

conduct in order to maximize its chances of success in collecting what it knew

to be unlawful debts.      LMP telephoned Ms. Jackson and accused her of

committing a crime involving a hot check. LMP threatened to send the case to

the County and have her prosecuted for a hot check. LMP expressly told Ms.

Jackson that she had committed “commerce fraud.”




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                                      IV.

                                 Class Claims

                 Class Action Considerations for Class Claims

      17.   The Plaintiff brings this action individually and on behalf of all

persons similarly situated pursuant to Rule 23 of the Federal Rules of Civil

Procedure. The Plaintiff seeks to represent two Plaintiff classes defined as

follows:

            Class One:
            All persons: (i) residing in the State of Texas (ii) who
            applied for and obtained a “payday loan” from FFD (iii)
            in the State of Texas (iv) in which FFD contracted for,
            charged or received an acquisition charge, an installment
            account handling charge, a default charge, or a deferment
            charge in excess of the maximum amount allowed under
            Tex. Fin. Code, Chapter 342, Subchapter F and Tex.
            Admin. Code, § 83.604 (v) during the time period from
            October 10, 2007, through the date of entry of an order
            certifying the class.

            Class Two:
            All persons: (i) residing in the State of Texas (ii) who
            applied for and obtained a “payday loan” from FFD (iii)
            in the State of Texas (iv) in which FFD contracted for,
            charged or received an acquisition charge, an installment
            account handling charge, a default charge, or a deferment
            charge in excess of the maximum amount allowed under
            Tex. Fin. Code, Chapter 342, Subchapter F and Tex.
            Admin. Code, § 83.604 (v) during the time period from
            October 10, 2007, through the date of entry of an order
            certifying the class (vi) who suffered from extortionate
            collection practices of the Defendants.

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      18. The class is so numerous that joinder of all members is impracticable.

      19. There are common questions of law and fact affecting the rights of class

members who suffered damage due to the conduct of the Defendants described

herein. The common question of law are: (i) whether FFD Resources contracted

for, charged of received an acquisition charge, a default charge, or a deferment

charge in excess of the maximum amount allowed under Tex. Fin. Code, Chapter

342, Subchapter F and Tex. Admin. Code, § 83.604; (ii) whether the Defendants

created an enterprise to engage in making illegal loans and collect them using

extortionate practices; and (iii) whether the Defendants engaged in extortionate

collection practices with respect to the class. These common questions of law arise

from the conduct in connection with form loan agreements and standard practices

of FFD Resources in which FFD Resources was engaged in identical, illegal

lending practices across Texas through an Internet website. In addition, there are

common questions of law that arise from the conduct of the Defendants in their

relationship in creating and maintaining the enterprise.      These also constitute

common questions of fact.

      20. The Plaintiff's claims are typical of the claims of class members, and the

defenses of the Defendants to the claims of the Plaintiff are expected to be typical

of the defenses to the claims of other class members. Indeed, the Plaintiff's claims

have the same essential characteristics as the claims of the class as a whole and are
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expected to be based upon identical legal theories. The class members have

suffered the same injury and possess the same interests as the Plaintiff.           In

particular, all class members have paid finance charges to FFD Resources in excess

of the amount allowed by the Texas Finance Code and Texas Administrative Code

and have suffered from the Enterprise’s unlawful and extortionate collection

actions.

      21. The Plaintiff as a representative party will fairly and adequately protect

the interests of the class. The Plaintiff has retained qualified, experienced, and able

counsel to represent the class, has no conflicts of interest with the class, and brings

this suit specifically for the protection of the class members who have been misled,

deceived, or otherwise victimized and damaged by the Defendants' practices, and

not solely to recover her own personal damages.

      22. The Defendants' conduct with respect to the Plaintiff is and has been

generally applicable to the class, thereby making relief and damages with respect

to the class as a whole.

      23. The prosecution of separate suits by individual members of the class

would create a risk of inconsistent and varying adjudications with respect to

individual members of the class that would establish incompatible standards of

conduct for the party opposing the class. To avoid this result, this suit should be

maintained as a class action.
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      24. The prosecution of separate suits by individual members of the class

would create a risk of adjudications with respect to individual members of the class

which would as a practical matter be dispositive of the interests of the other

members not parties to the adjudications or substantially impair or impede their

ability to protect their interests. To avoid this result, this suit should be maintained

as a class action.

      25. The Plaintiff believes this Court will find that the questions of law or

fact common to the members of the class predominate over any questions affecting

only individual members, and that a class action is superior to other available

methods for the fair and efficient adjudication of the controversy. Thus, this suit

should be maintained as a class action.

                        Violations of the Texas Finance Code

      26. FFD Resources made consumer deferred presentment loans in the State

of Texas without holding a license in violation of Tex. Admin. Code, § 83.204(b).

      27. FFD Resources contracted for, charged or received finance charges,

including but not limited to acquisition charges, installment account handling

charges, default charges and deferment charges, far in excess of the maximum

amount allowed under Texas Finance Code, Chapter 342, Subchapter F and Tex.

Admin. Code, § 83.604.

      28. FFD Resources’ conduct directly and proximately caused damages to
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the Plaintiff and the class members, which the Plaintiff and the class now seek.

      29. FFD Resources contracted for, charged or received finance charges,

including but not limited to acquisition charges, installment account handling

charges, default charges and deferment charges, of more than 3 times the lawful

rate, entitling the class members to penalties against FFD Resources.

                                   RICO Claims

      30. The Defendants are persons as defined by 18 U.S.C. § 1961(3) and are

an “enterprise” as defined by 18 U.S.C. § 1961(4).

      31. FFD Resources lent money to the Plaintiff and the class members at a

rate that was illegal under Texas law, making the debts “unlawful debts” as defined

under 18 U.S.C. § 1961(6).

      32. The Defendants engaged in activity that constituted “racketeering

activity” as defined under 18 U.S.C. § 1961(1). Specifically:

         (a) FFD Resources made extortionate extensions of credit to the
             Plaintiff and the class members in violation of 18 U.S.C. § 892,
             by making loans to the Plaintiff and the class members that
             were not enforceable in Texas and that were at a rate of interest
             for in excess of the allowed rate on a deferred presentment loan
             or “payday loan.”

         (b) FFD Resources and the other Defendants participated in or
             conspired to participate in the use of extortionate means to
             collect or attempt to collect the extensions of credit to the
             Plaintiff and the class members in violation of 18 U.S.C. § 894
             by making threats of arrest that were unlawful and impossible.

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         (c) Defendants knowingly engaged in a monetary transaction in
             criminally derived property of a value greater than $10,000 and
             derived from specified unlawful activity in violation of 18
             U.S.C. § 1957(a).

      33. The Defendants have received income derived, directly and/or

indirectly, from a pattern of racketeering activity and/or through collection of

unlawful debts in which the Defendants have participated as principal within the

meaning of 18 U.S.C. § 2, and the Defendants have used or invested, directly

and/or indirectly, a part of that income or the proceeds of that income in the

establishment and/or operation of an enterprise which is engaged in interstate

commerce. In particular, the Defendants have taken the income derived from the

activities of FFD Resources and LMP and have used or invested part of the income

in the operation of FFD Resources and its affiliates in interstate commerce. This

constitutes a violation of 18 U.S.C. § 1962(a).

      34. The Defendants have participated, directly and/or indirectly, in the

conduct of the enterprise’s affairs through a pattern of racketeering activity or

collection of an unlawful debt in violation of 18 U.S.C. § 1962(c).



      35. The Does, who are persons employed by or associated with the

enterprise and have conspired to violate subsection (a) and (c) of section 1962 of

title 18 of the United States Code, in violation of 18 U.S.C. § 1962(d).       In

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particular, the Defendants agreed to charge, or conspired to charge and assisted in

charging exceedingly usurious interest rates and agreed to collect these unlawful

debts through extortionate practices.

      36. The Defendants’ conduct directly and proximately caused damages to

the Plaintiff and the class that the Plaintiff and the class now seek.

      37. The Defendants are liable to the Plaintiff and the class for an amount

equal to three times the damages sustained and costs of the suit including a

reasonable attorney’s fee.

      38. In addition, the Plaintiff seeks the issuance of appropriate orders,

including but not limited to an order divesting FFD Ventures from its interest in

FFD Resources, an order divesting the Does from their interests in FFD Ventures,

FFD Resources, and LMP, an order imposing reasonable restrictions on the future

activities of FFD Resources and LMP, prohibiting loans of the same type as those

complained of in this suit and/or collection of those loans, and an order dissolving

FFD Resources, FFD Ventures, and LMP, liquidating their assets, and disbursing

the proceeds of the liquidation to the Plaintiff and the class members in

compensation of damages that may be awarded.




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                                         V.

                                Individual Claims
                         A. Texas Collection Act Claims

      39. FFD Resources and LMP are collectively referred to in paragraph

numbers 39 through 49 as the Texas Act Collectors.

      40. The Texas Act Collectors’ conduct constitutes violations of the Texas

Collection Practices Act, codified in the Texas Finance Code.

      41. The Plaintiff is a consumer as that term is defined by Tex. Fin. Code, §

392.001(1).

      42. The Texas Act Collectors are debt collectors as that term is defined by

Tex. Fin. Code, § 392.001(6).

                 Threats or Coercion: Tex. Fin. Code, § 392.301

      43. The Texas Act Collectors’ actions and conduct constitute violations of

Texas Finance Code, § 392.301, specifically by:

      (a) accusing falsely or threatening to accuse falsely the Plaintiff of fraud or
          any other crime in violation of Tex. Fin. Code, § 392.301(a)(2).
      (b) threatening that the Plaintiff would be arrested for nonpayment of a
          consumer debt without proper court proceedings in violation of Tex. Fin.
          Code, § 392.301(a)(5).
      (c) threatening to file a charge, complaint, or criminal action against the
          Plaintiff when the Plaintiff had not violated a criminal law in violation of
          Tex. Fin. Code, § 392.301(a)(6).
      (d) threatening to take an action prohibited by law in violation of Tex. Fin.
          Code, § 392.301(a)(8).


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      44. The Texas Act Collectors’ conduct was the direct cause of damages to

the Plaintiff in an amount in excess of the jurisdictional limits of the Court, for

which the Plaintiff now sues.

                  Harassment; Abuse: Tex. Fin. Code, § 392.302
      45. The Texas Act Collectors’ actions and conduct constitute violations of

Texas Finance Code, § 392.302, specifically by using language intended to abuse

unreasonably the hearer or reader in violation of section 392.302(1) of the Texas

Finance Code.

      46. The Texas Act Collectors’ conduct was the direct cause of damages to

the Plaintiff in an amount in excess of the jurisdictional limits of the Court, for

which the Plaintiff now sues.

              Fraudulent, Deceptive, or Misleading Representations:
                           Tex. Fin. Code, § 392.304

      47. The Texas Act Collectors’ actions and conduct constitute violations of

Texas Finance Code, § 392.304, as follows:

      a. Misrepresenting the character, extent, or amount of the Plaintiff’s
         consumer debt, or misrepresenting the Plaintiff’s consumer debt’s status
         in a judicial or governmental proceeding in violation of section
         392.304(a)(8) of the Texas Finance Code.
      b. Representing falsely the status or nature of the services rendered by the
         debt collector or the debt collector’s business in violation of section
         392.304(a)(14) of the Texas Finance Code.
      c. Using any other false representation or deceptive means to collect a debt
         or obtain information concerning a consumer in violation of section
         392.304(19) of the Texas Finance Code.

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      48. The Texas Act Collectors’ conduct was the direct cause of damages to

the Plaintiff in an amount in excess of the jurisdictional limits of the Court, for

which the Plaintiff now sues.

                      Costs of Litigation and Attorney's Fees

      49. The Plaintiff has been forced to hire the attorneys whose names appear

below to pursue those claims on their behalf. The Plaintiff seeks an award of her

costs of this action, including but not limited to reasonable attorneys' fees pursuant

to Tex. Fin. Code, § 392.403(b).

                            B. Violations of the FDCPA

      50. The Plaintiff is a consumer as defined by 15 U.S.C. § 1692a(3). LMP is

a debt collector as defined by 15 U.S.C. § 1692a(6).

      51. LMP communicated with third parties without the prior consent of the

Plaintiff or the express permission of a court of competent jurisdiction, in violation

of 15 U.S.C. § 1692c(b).

      52. LMP used language the natural consequence of which was to abuse the

hearer in violation of 15 U.S.C. § 1692d(2).         In particular, the Defendants’

representative accused the Plaintiff of committing a crime by not paying the debt.

      53. LMP falsely represented or implied that its communications were from

an attorney in violation of 15 U.S.C. § 1692e(3).



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      54. LMP represented or implied that the Plaintiff’s nonpayment of the debt

would result in her arrest or imprisonment in violation of 15 U.S.C. § 1692e(4).

      55. LMP threatened to file charges against the Plaintiff for writing a crime

involving a check and “commerce fraud,” where that action could not legally be

taken and was not intended to be taken in violation of 15 U.S.C. § 1692e(5).

      56. LMP falsely represented and implied that the Plaintiff committed a

crime, specifically what it referred to as “commerce fraud,” in order to disgrace her

in violation of 15 U.S.C. § 1692e(7).

      57. LMP used false representations or deceptive means to collect or attempt

to collect a debt and to obtain information about the Plaintiff. In particular, LMP

falsely represented that the Plaintiff had committed a crime by not paying the debt

and threatened to have her prosecuted for the crime. This conduct constitutes a

violation of 15 U.S.C. § 1692e(10).

      58. LMP’s conduct described above was the direct cause of actual damages

to the Plaintiff for which she now sues.

      59. As a result of LMP’s violations, the Plaintiff is entitled to an award of

statutory damages pursuant to 15 U.S.C. § 1692k(a) for which she now sues.

      60. The Plaintiff would further show this Court that recovery of the costs of

this action, including reasonable attorney’s fees, are authorized, made, and

provided under and according to the provisions of 15 U.S.C. § 1692k(a)(3), and the
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Plaintiff seeks them in this action.

                   C. Intentional Infliction of Emotional Distress

      61. LMP’s and FFD Resource’s conduct constitutes intentional infliction of

emotional distress. LMP made spoke with the Plaintiff’s mother about the debt,

accused the Plaintiff of a crime, and threatened to prosecute the Plaintiff for a

crime if she did not pay the debt. LMP’s actions and threats, and FFD Resources

through its agent’s actions, were all calculated at intentionally inflicting emotional

distress upon the Plaintiff so that she would pay the debt. These actions were

intentional or reckless, their conduct was extreme and outrageous, their actions

caused the Plaintiff emotional distress, and the Plaintiff’s resulting emotional

distress was severe.

      62. As a direct and proximate result of the acts of FFD Resources and LMP,

the Plaintiff has been damaged in a sum in excess of the minimum jurisdictional

limits of the court. Moreover, FFD Resources’ and LMP’s actions were intentional

or reckless, and the Plaintiff hereby sues for exemplary damages in an amount far

in excess of the minimal jurisdictional limits of this Court.

                       D. Invasion of Privacy by Way of Intrusion

      63. FFD Resources’ and LMP’s conduct constitutes an invasion of the

Plaintiff’s privacy by way of intrusion, in that they intentionally intruded upon the

solitude of the Plaintiff or her private affairs in a way that was or would have been
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highly offensive to a reasonable person. FFD Resources’ and LMP’s intrusion was

unreasonable, unjustified, or unwarranted.

      64. As a direct and proximate result of the acts of FFD Resources and LMP,

the Plaintiff has been damaged in a sum in excess of the minimum jurisdictional

limits of the court. Moreover, FFD Resources’ and LMP’s actions were intentional

or reckless, and the Plaintiff hereby sues for exemplary damages in an amount far

in excess of the minimal jurisdictional limits of this Court.

      65. FFD Resources’ and LMP’s conduct has proximately caused damages

to the Plaintiff, and the Plaintiff has been harmed as a proximate result.

      66. As a direct and proximate result of the acts of FFD Resources and LMP,

the Plaintiff has been damaged in a sum in excess of the minimum jurisdictional

limits of the court.

                                         VI.

                                   Jury Demand

      67. The Plaintiff demands a trial by jury on all issues in this case.

        WHEREFORE, PREMISES CONSIDERED, the Plaintiff, EBONI

JACKSON, Individually and on behalf of all those similarly situated, and

respectfully requests that the Defendants, LEGAL MEDIATION PRACTICE,

INC., FFD RESOURCES II, LLC d/b/a WebPayday.com, FFD VENTURES, LP,

and JOHN DOES 1 – 99 cited to appear, and that after trial to a jury the Plaintiff be
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awarded judgment against the Defendants, jointly and severally as applicable, for

the following:

      1.    Certification of classes as indicated above and an award of actual
            damages and where applicable penalties and punitive and/or
            exemplary damages against the Defendants in favor of the Class;

      2.    Orders of divestment of interests of FFD Ventures, LP and John Does
            1 – 99 from their interests in FFD Resources II, LLC, FFD Ventures,
            LP, and Legal Mediation Practice, Inc.;

      3.    Liquidation of FFD Ventures, LP, FFD Resources II, LLC, and Legal
            Mediation Practice, Inc. and distribution from the liquidation to class
            members in satisfaction of damages awarded;

      4.    Prejudgment and post judgment interest as allowed by law against the
            Defendants on the class claims in favor of the Class;

      5.    Reasonable and necessary attorney's fees against the Defendants on
            the class claims in favor of the Class;

      6.    Actual damages against FFD Resources II, LLC and Legal Mediation
            Practice, Inc. in favor of Eboni Jackson individually;

      7.    Statutory damages under 15 U.S.C. § 1692k against Legal Mediation
            Practice, Inc. in an amount not to exceed $1,000.00 in favor of Eboni
            Jackson individually;

      8.    Additional, punitive, or exemplary damages against FFD Resources
            II, LLC and Legal Mediation Practice, Inc. in favor of Eboni Jackson
            individually;

      9.    Prejudgment and post judgment interest as allowed by law against
            FFD Resources II, LLC and Legal Mediation Practice, Inc. in favor of
            Eboni Jackson individually;

      10.   Reasonable and necessary attorney's fees and expenses against FFD
            Resources II, LLC and Legal Mediation Practice, Inc. on the FDCPA
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       and Texas Collection Practices Act claims in favor of Eboni Jackson;

 11.   Costs of Court; and
 12.   Such other relief, both equitable and at law, to which the Plaintiff may
       show herself and the Class entitled.

                                 Respectfully submitted,

                                 WAUSON ♦ PROBUS

                                 By:__/s/ Matthew B. Probus___
                                      Matthew B. Probus
                                      TBA# 16341200

                                 One Sugar Creek Center Blvd., Suite 880
                                 Sugar Land, Texas 77478
                                 (281) 242-0303
                                 (281) 242-0306 (Facsimile)

                                 ATTORNEYS FOR PLAINTIFF,
                                 EBONI JACKSON, INDIVIDUALLY
                                 AND ON BEHALF OF ALL THOSE
                                 SIMILARLY SITUATED




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